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                        EXHIBIT 1
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000055P003-1399S-010                          000034P002-1399S-010                               000039P001-1399S-010                               000039P001-1399S-010
AARON HENRY                                   ALLSTATE FLORAL & CRAFT, INC.                      APF FBO PROFESSIONAL STAFFING CO. INC              APF FBO PROFESSIONAL STAFFING CO. INC
MANAGING AGENT                                MANAGING AGENT                                     MANAGING AGENT                                     MANAGING AGENT
550 SOUTH HILL ST                             14038 PARK PL                                      PO BOX 823473                                      PO BOX 823473
#1620                                         CERRITOS CA 90703                                  PHILADELPHIA PA 19182-3473                         PHILADELPHIA PA 19182-3473
LOS ANGELES CA 90013                          SUEGILBERTSON@ATT.NET                              JENNIFER@PSCSTAFFING.COM                           D.OWEN@ADVANCEPARTNERS.COM
AHENRYDESIGNS@SBCGLOBAL.NET



000036P001-1399S-010                          000036P001-1399S-010                               000036P001-1399S-010                               000053P002-1399S-010
ASTOUND COMMERCE CORPORATION                  ASTOUND COMMERCE CORPORATION                       ASTOUND COMMERCE CORPORATION                       BARBARA HEINRICH STUDIO
MANAGING AGENT                                MANAGING AGENT                                     MANAGING AGENT                                     MANAGING AGENT
111 BAYHILL DR                                111 BAYHILL DR                                     111 BAYHILL DR                                     77 EAST JEFFERSON RD
STE 425                                       STE 425                                            STE 425                                            PITTSFORD NY 14534
SAN BRUNO CA 94066                            SAN BRUNO CA 94066                                 SAN BRUNO CA 94066                                 JANINE@BARBARAHEINRICHSTUDIO.COM
ALEXANDER@ASTOUNDCOMMERCE.COM                 AR@ASTOUNDCOMMERCE.COM                             LEGAL@ASTOUNDCOMMERCE.COM



000023P001-1399S-010                          000071P001-1399S-010                               000071P001-1399S-010                               000071P001-1399S-010
BRIAN TSUNG                                   BROWNSTEIN HYATT FARBER SCHRECK LLP                BROWNSTEIN HYATT FARBER SCHRECK LLP                BROWNSTEIN HYATT FARBER SCHRECK LLP
1570 8TH AVE                                  SAMUEL A SCHWARTZ; BRYAN A LINDSEY;CONNOR H SHEA   SAMUEL A SCHWARTZ; BRYAN A LINDSEY;CONNOR H SHEA   SAMUEL A SCHWARTZ; BRYAN A LINDSEY;CONNOR H SHEA
SAN FRANCISCO CA 94112                        100 NORTH CITY PARKWAY STE 1600                    100 NORTH CITY PARKWAY STE 1600                    100 NORTH CITY PARKWAY STE 1600
BRIANTSUNG@GMAIL.COM                          LAS VEGAS NV 89106-4614                            LAS VEGAS NV 89106-4614                            LAS VEGAS NV 89106-4614
                                              SASCHWARTZ@BHFS.COM                                BLINDSEY@BHFS.COM                                  CSHEA@BHFS.COM




000049P002-1399S-010                          000068P001-1399S-010                               000073P001-1399S-010                               000059P001-1399S-010
BUCCELLATI INC.                               BUCHALTER, A PROFESSIONAL CORPORATION              COHEN JOHNSON PARKER EDWARDS                       COMCAST SPOTLIGHT
MANAGING AGENT                                SHAWN M CHRISTIANSON, ESQ                          H. STAN JOHNSON, ESQ.                              MANAGING AGENT
714 MADISON AVE                               55 SECOND ST, 17TH FLOOR                           375 E. WARM SPRINGS RD. STE 104                    PO BOX 742637
4TH FL                                        SAN FRANCISCO CA 94105-3493                        LAS VEGAS NV 89119                                 LOS ANGELES CA 90074
NEW YORK NY 10065                             SCHRISTIANSON@BUCHALTER.COM                        SJOHNSON@COHENJOHNSON.COM                          ASK_BUSOPS@COMCAST.COM
AURORA.NIEVES@BUCCELLATI.COM



000020P002-1399S-010                          000020P002-1399S-010                               000051P002-1399S-010                               000046P001-1399S-010
CORPORATE PARTNERS II, LTD.                   CORPORATE PARTNERS II, LTD.                        CUSHMAN & WAKEFIELD, INC.                          DEACON & CO.
ATTN: JONATHAN KAGAN                          ATTN: JONATHAN KAGAN                               RICH LEE                                           MANAGING AGENT
45 ROCKEFELLER PLAZA                          45 ROCKEFELLER PLAZA                               425 MARKET ST                                      5/F. TOWER 2
STE 2626                                      STE 2626                                           STE 2300                                           SOUTH SEAS CENTRE, 75 MODY
NEW YORK NY 10111                             NEW YORK NY 10111                                  SAN FRANCISCO CA 94105                             KOWLOON HONG KONG 999077
JONATHAN.KAGAN@CORPORATEPARTNERSLLC.COM       MICHAEL.MOYLAN@CORPORATEPARTNERSLLC.COM            PM@SHREVEBUILDING.COM                              HONG KONG
                                                                                                                                                    ROMAN.YAWORSKY@DEACON.COM.HK


000060P001-1399S-010                          000040P002-1399S-010                               000026P002-1399S-010                               000035P001-1399S-010
DURLAND CO.                                   EPSILON DATA MANAGEMENT, LLC                       FEDEX CORPORATE SERVICES INC.                      FURNITURE CLASSICS
MANAGING AGENT                                MANAGING AGENT                                     MANAGING AGENT                                     MANAGING AGENT
608 FIFTH AVE                                 3788 MOMENTUM PL                                   942 S SHADY GROVE RD                               835 PHILPOTTS ROAD
STE 407                                       CHICAGO IL 60689-5337                              MEMPHIS TN 38120                                   NORFOLK VA 23513
NEW YORK NY 10020                             CHRIS.SCHULTE@EPSILON.COM                          BRYAN.JOHNSON@FEDEX.COM                            INFO@FURNITURECLASSICS.COM
ESTATE@DURLANDCO.COM
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000052P001-1399S-010                   000019P001-1399S-010                      000019P001-1399S-010                            000019P001-1399S-010
GEORG JENSEN INC.                      GORDON BROTHERS RETAIL PARTNERS, LLC      GORDON BROTHERS RETAIL PARTNERS, LLC            GORDON BROTHERS RETAIL PARTNERS, LLC
MANAGING AGENT                         ATTN: MACKENZIE SHEA                      ATTN: MACKENZIE SHEA                            ATTN: MACKENZIE SHEA
580 BROADWAY                           PRUDENTIAL TOWER                          PRUDENTIAL TOWER                                PRUDENTIAL TOWER
STE 506                                800 BOYLSTON STREET                       800 BOYLSTON STREET                             800 BOYLSTON STREET
NEW YORK NY 10012                      BOSTON MA 02119                           BOSTON MA 02119                                 BOSTON MA 02119
JUDITH.SMITH@GEORGJENSEN.COM           MSHEA@GORDONBROTHERS.COM                  TSHILLING@GORDONBROTHERS.COM                    MPECORA@GORDONBROTHERS.COM



000018P001-1399S-010                   000018P001-1399S-010                      000038P001-1399S-010                            000064P001-1399S-010
HILCO MERCHANT RESOURCES, LLC          HILCO MERCHANT RESOURCES, LLC             I-CENTRIX DBA RYAN PARTNERSHIP                  KOLESAR & LEATHAM
ATTN: IAN S. FREDERICKS                ATTN: IAN S. FREDERICKS                   MANAGING AGENT                                  JAMES PATRICK SHEA;BART K LARSEN
5 REVERE DRIVE                         5 REVERE DRIVE                            3100 EASTON SQUARE PL                           400 S RAMPART BLVD STE 400
SUITE 206                              SUITE 206                                 COLUMBUS OH 43219                               LAS VEGAS NV 89145
NORTHBROOK IL 60062                    NORTHBROOK IL 60062                       ANGELICA.LENT@EPSILON.COM                       JSHEA@KLNEVADA.COM
IFREDERICKS@HILCOGLOBAL.COM            DARNOLD@HILCOGLOBAL.COM



000064P001-1399S-010                   000017P002-1399S-010                      000017P002-1399S-010                            000047P002-1399S-010
KOLESAR & LEATHAM                      LAW OFFICES OF JUDITH W ROSS              LAW OFFICES OF JUDITH W ROSS                    LSC COMMUNICATIONS, INC.
JAMES PATRICK SHEA;BART K LARSEN       JUDITH W ROSS                             JUDITH W ROSS                                   MANAGING AGENT
400 S RAMPART BLVD STE 400             700 NORTH PEARL ST                        700 NORTH PEARL ST                              191 NORTH WACKER DRIVE
LAS VEGAS NV 89145                     STE 1610                                  STE 1610                                        STE 1400
BLARSEN@KLNEVADA.COM                   DALLAS TX 75201                           DALLAS TX 75201                                 CHICAGO IL 60606
                                       JUDITH.ROSS@JUDITHWROSS.COM               JESSICA.LEWIS@JUDITHWROSS.COM                   ERIN.L.MARTIN@LSCCOM.COM



000032P001-1399S-010                   000025P002-1399S-010                      000057P002-1399S-010                            000054P002-1399S-010
MARIA YEE                              MICHAEL MOSCA                             MIEKO MINTZ LLC                                 MOSS ADAMS LLP
MANAGING AGENT                         202 RIPLEY ST                             MARK A. MINTZ, PRESIDENT                        MANAGING AGENT
1939 MONTEREY RD                       SAN FRANCISCO CA 94110                    77 RIVER ST APT 1                               LOCKBOX 101822
STE 8                                  MICHAELMOSCA@ME.COM                       HOBOKEN NJ 07030-5613                           2710 MEDIA CENTER DR
SAN JOSE CA 95112                                                                MARKMINTZ@OPTONLINE.NET                         BLDG. 6, STE 120
LINDA@MARIAYEE.COM                                                                                                               LOS ANGELES CA 90065
                                                                                                                                 KIMBERLY.MEYERS@MOSSADAMS.COM


000043P001-1399S-010                   000041P001-1399S-010                      000058P001-1399S-010                            000044P001-1399S-010
NAM HAI CO. LTD                        NATURAL FASHION INC. DBA ANU              PETRA CLASS                                     REGENCY INTERNATIONAL BUSINESS
AREA B, DONG CHIEU ZONE                MANAGING AGENT                            MANAGING AGENT                                  MANAGING AGENT
TAN DONG HIEP WARD                     25 JORDAN PLA # 1                         1072 ALABAMA ST                                 50 BROADWAY
DI AN TOWN BINH DUONG                  CHICO CA 95973                            SAN FRANCISCO CA 94110                          3RD FLOOR
VIETNAM                                PCHOPRA@NATURALFASHIONS.NET               PETRA.CLASS@GMAIL.COM                           NEW YORK NY 10004
NINHVTU@YAHOO.COM.VN                                                                                                             ANA@REGENCY-RIB.COM



000067P001-1399S-010                   000056P001-1399S-010                      000027P001-1399S-010                            000030P002-1399S-010
RIEMER BRANSTEIN LLP                   RUSSELL TRUSSO FINE JEWELRY               SANDBOX STUDIO                                  SCHWAK USA, INC.
STEVEN FOX                             MANAGING AGENT                            MANAGING AGENT                                  C/O MATTHEWS INTERNATIONAL CORP.
SEVEN TIMES SQUARE                     PO BOX 616                                3850 N 29TH TERRACE                             MANAGING AGENT
STE 2506                               LAKEWOOD OH 44107-0616                    STE 107                                         18211 NE 68TH STREET
NEW YORK NY 10036                      RUSS@RUSSELLTRUSSO.COM                    HOLLYWOOD FL 33020                              STE E # 120
SFOX@RIEMERLAW.COM                                                               DONNA.JAGRU@CREATIVEDRIVE.COM                   REDMOND WA 98502-8528
                                                                                                                                 MARIA.CHERESO@SGKINC.COM
                                  Case 18-14683-leb              Doc 169 Entered 09/12/18 12:53:07              Page 6 of 10
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000050P001-1399S-010                  000065P001-1399S-010                       000066P001-1399S-010                          000070P001-1399S-010
SEKO WORLDWIDE, LLC                   ST JAMES LAW PC                            STERLING BUSINESS CREDIT LLC                  SULLIVAN HILL
MANAGING AGENT                        MICHAEL ST JAMES, ESQ                      LAUREL VARNEY                                 ELIZABETH STEPHENS
1100 ARLINGTON HEIGHTS RD             22 BATTERY ST STE 888                      8401 N CENTRAL EXPRESSWAY                     228 SOUTH 4TH STREET
STE 600                               SAN FRANCISCO CA 94111                     STE 600                                       FIRST FLOOR
ITASCA IL 60143                       ECF@STJAMES-LAW.COM                        DALLAS TX 75225                               LAS VEGAS NV 89101
GENEVA.GOHEEN@SEKOLOGISTICS.COM                                                  LVARNEY@SNB.COM                               STEPHENS@SULLIVANHILL.COM



000001P004-1399S-010                  000001P004-1399S-010                       000037P002-1399S-010                          000072P001-1399S-010
UNITED STATES TRUSTEE                 UNITED STATES TRUSTEE                      VILAGALLO SA                                  WELTMAN, WEINBERG & REIS CO., L.P.A.
EDWARD MCDONALD                       EDWARD MCDONALD                            CALLE VELAZQUEZ 44                            SCOTT D. FINK
300 LAS VEGAS BLVD SOUTH              300 LAS VEGAS BLVD SOUTH                   ENTRADA POR CL HERMOSILLA                     LAKESIDE PLACE, SUITE 200
#4300                                 #4300                                      MADRID 27001                                  323 W. LAKESIDE AVE.
LAS VEGAS NV 89101                    LAS VEGAS NV 89101                         SPAIN                                         CLEVELAND OH 44113-1099
EDWARD.M.MCDONALD@USDOJ.GOV           NICK.STROZZA@USDOJ.GOV                     AFERRER@VILAGALLO.ES                          SFINK@WELTMAN.COM



000042P001-1399S-010
WINWARD INTERNATIONAL
MANAGING AGENT
42760 ALBRAE ST
FREMONT CA 94538
CINDYF@WINWARDSILKS.COM




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000055P003-1399S-010                        000034P002-1399S-010                           000039P001-1399S-010                               000036P001-1399S-010
AARON HENRY                                 ALLSTATE FLORAL & CRAFT, INC.                  APF FBO PROFESSIONAL STAFFING CO. INC              ASTOUND COMMERCE CORPORATION
MANAGING AGENT                              MANAGING AGENT                                 MANAGING AGENT                                     MANAGING AGENT
550 SOUTH HILL ST                           14038 PARK PL                                  PO BOX 823473                                      111 BAYHILL DR
#1620                                       CERRITOS CA 90703                              PHILADELPHIA PA 19182-3473                         STE 425
LOS ANGELES CA 90013                                                                                                                          SAN BRUNO CA 94066



000053P002-1399S-010                        000023P001-1399S-010                           000071P001-1399S-010                               000049P002-1399S-010
BARBARA HEINRICH STUDIO                     BRIAN TSUNG                                    BROWNSTEIN HYATT FARBER SCHRECK LLP                BUCCELLATI INC.
MANAGING AGENT                              1570 8TH AVE                                   SAMUEL A SCHWARTZ; BRYAN A LINDSEY;CONNOR H SHEA   MANAGING AGENT
77 EAST JEFFERSON RD                        SAN FRANCISCO CA 94112                         100 NORTH CITY PARKWAY STE 1600                    714 MADISON AVE
PITTSFORD NY 14534                                                                         LAS VEGAS NV 89106-4614                            4TH FL
                                                                                                                                              NEW YORK NY 10065



000068P001-1399S-010                        000009P001-1399S-010                           000048P002-1399S-010                               000031P001-1399S-010
BUCHALTER, A PROFESSIONAL CORPORATION       CALIFORNIA DEPT. OF TAX & FEE ADMIN.           CENTRAL NATIONAL GOTTESMAN INC.                    CIT GROUP/COMMERCIAL SERVICES
SHAWN M CHRISTIANSON, ESQ                   ACCOUNT INFORMATION GROUP, MIC:29              MANAGING AGENT/JANE HARNESS                        MANAGING AGENT
55 SECOND ST, 17TH FLOOR                    PO BOX 942879                                  3 MANHATTANVILLE RD                                ONE CIT DRIVE
SAN FRANCISCO CA 94105-3493                 SACRAMENTO CA 94279-0029                       PURCHASE NY 10577                                  LIVINGSTON NJ 07039




000024P001-1399S-010                        000073P001-1399S-010                           000059P001-1399S-010                               000020P002-1399S-010
CITY OF OLIVE BRANCH                        COHEN JOHNSON PARKER EDWARDS                   COMCAST SPOTLIGHT                                  CORPORATE PARTNERS II, LTD.
MANAGING AGENT                              H. STAN JOHNSON, ESQ.                          MANAGING AGENT                                     ATTN: JONATHAN KAGAN
9200 PIGEON ROOST                           375 E. WARM SPRINGS RD. STE 104                PO BOX 742637                                      45 ROCKEFELLER PLAZA
OLIVE BRANCH MS 38654                       LAS VEGAS NV 89119                             LOS ANGELES CA 90074                               STE 2626
                                                                                                                                              NEW YORK NY 10111



000051P002-1399S-010                        000046P001-1399S-010                           000015P004-1399S-010                               000060P001-1399S-010
CUSHMAN & WAKEFIELD, INC.                   DEACON & CO.                                   DELAWARE DIV. OF REVENUE/BANKR. SVS.               DURLAND CO.
RICH LEE                                    MANAGING AGENT                                 ZILLAH A. FRAMPTION - BANKR. ADMIN.                MANAGING AGENT
425 MARKET ST                               5/F. TOWER 2                                   CARVEL STATE OFFICE BUILDING                       608 FIFTH AVE
STE 2300                                    SOUTH SEAS CENTRE, 75 MODY                     820 N. FRENCH ST 8TH FL                            STE 407
SAN FRANCISCO CA 94105                      KOWLOON HONG KONG 999077                       WILMINGTON DE 19801                                NEW YORK NY 10020
                                            HONG KONG


000011P001-1399S-010                        000040P002-1399S-010                           000026P002-1399S-010                               000022P002-1399S-010
EMPLOYMENT DEVELOPMENT DEPT.                EPSILON DATA MANAGEMENT, LLC                   FEDEX CORPORATE SERVICES INC.                      FRANCES LANE, LLC
ATTN: MIC 53 800                            MANAGING AGENT                                 MANAGING AGENT                                     LINDSAY JERNEGAN
CAPITOL MALL                                3788 MOMENTUM PL                               942 S SHADY GROVE RD                               22 DIGITAL DRIVE
SACRAMENTO CA 95814                         CHICAGO IL 60689-5337                          MEMPHIS TN 38120                                   STE F
                                                                                                                                              NOVATO CA 94945



000006P001-1399S-010                        000035P001-1399S-010                           000052P001-1399S-010                               000063P002-1399S-010
FRANCHISE TAX BOARD                         FURNITURE CLASSICS                             GEORG JENSEN INC.                                  GERARD ALAN SILVA
BANKRUPTCY SECTION, MS A340                 MANAGING AGENT                                 MANAGING AGENT                                     MANAGING AGENT
PO BOX 2952                                 835 PHILPOTTS ROAD                             580 BROADWAY                                       307 ADELAIDE HILLS CT
SACRAMENTO CA 95812-2952                    NORFOLK VA 23513                               STE 506                                            SAN RAMON CA 94583
                                                                                           NEW YORK NY 10012
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GORDON BROTHERS RETAIL PARTNERS, LLC       GRACE CHUANG INC                            HILCO MERCHANT RESOURCES, LLC                  I-CENTRIX DBA RYAN PARTNERSHIP
ATTN: MACKENZIE SHEA                       MANAGING AGENT                              ATTN: IAN S. FREDERICKS                        MANAGING AGENT
PRUDENTIAL TOWER                           261 WEST 35TH ST                            5 REVERE DRIVE                                 3100 EASTON SQUARE PL
800 BOYLSTON STREET                        802                                         SUITE 206                                      COLUMBUS OH 43219
BOSTON MA 02119                            NEW YORK NY 10001                           NORTHBROOK IL 60062



000004P001-1399S-010                       000064P001-1399S-010                        000062P002-1399S-010                           000017P002-1399S-010
INTERNAL REVENUE SERVICE                   KOLESAR & LEATHAM                           LALIQUE NORTH AMERICA, INC.                    LAW OFFICES OF JUDITH W ROSS
PO BOX 7346                                JAMES PATRICK SHEA;BART K LARSEN            MANAGING AGENT                                 JUDITH W ROSS
PHILADELPHIA PA 19101-7346                 400 S RAMPART BLVD STE 400                  25 BRANCA RD                                   700 NORTH PEARL ST
                                           LAS VEGAS NV 89145                          EAST RUTHERFORD NJ 07073                       STE 1610
                                                                                                                                      DALLAS TX 75201



000033P001-1399S-010                       000047P002-1399S-010                        000032P001-1399S-010                           000021P002-1399S-010
LSC COMMUNICATIONS US, LLC                 LSC COMMUNICATIONS, INC.                    MARIA YEE                                      METRO INVESTMENT COMPANY
MANAGING AGENT                             MANAGING AGENT                              MANAGING AGENT                                 C/O JONES LANG LASALLE AMERICAS, INC
PO BOX 932987                              191 NORTH WACKER DRIVE                      1939 MONTEREY RD                               KIM HARDY, MANAGER
CLEVELAND OH 44193                         STE 1400                                    STE 8                                          6410 POPLAR AVE
                                           CHICAGO IL 60606                            SAN JOSE CA 95112                              STE 350
                                                                                                                                      MEMPHIS TN 38119


000025P002-1399S-010                       000057P002-1399S-010                        000013P001-1399S-010                           000054P002-1399S-010
MICHAEL MOSCA                              MIEKO MINTZ LLC                             MISSISSIPPI DEPT. OF REVENUE                   MOSS ADAMS LLP
202 RIPLEY ST                              MARK A. MINTZ, PRESIDENT                    BANKRUPTCY SECTION                             MANAGING AGENT
SAN FRANCISCO CA 94110                     77 RIVER ST APT 1                           PO BOX 22808                                   LOCKBOX 101822
                                           HOBOKEN NJ 07030-5613                       JACKSON MI 39225-2808                          2710 MEDIA CENTER DR
                                                                                                                                      BLDG. 6, STE 120
                                                                                                                                      LOS ANGELES CA 90065


000043P001-1399S-010                       000041P001-1399S-010                        000005P001-1399S-010                           000058P001-1399S-010
NAM HAI CO. LTD                            NATURAL FASHION INC. DBA ANU                NEVADA DEPT. OF TAXATION                       PETRA CLASS
AREA B, DONG CHIEU ZONE                    MANAGING AGENT                              BANKRUPTCY SECTION                             MANAGING AGENT
TAN DONG HIEP WARD                         25 JORDAN PLA # 1                           555 E WASHINGTON AVE                           1072 ALABAMA ST
DI AN TOWN BINH DUONG                      CHICO CA 95973                              #1300                                          SAN FRANCISCO CA 94110
VIETNAM                                                                                LAS VEGAS NV 89101



000044P001-1399S-010                       000067P001-1399S-010                        000056P001-1399S-010                           000061P001-1399S-010
REGENCY INTERNATIONAL BUSINESS             RIEMER BRANSTEIN LLP                        RUSSELL TRUSSO FINE JEWELRY                    SAN FRANCISCO TAX COLLECTOR
MANAGING AGENT                             STEVEN FOX                                  MANAGING AGENT                                 MANAGING AGENT
50 BROADWAY                                SEVEN TIMES SQUARE                          PO BOX 616                                     PO BOX 7427
3RD FLOOR                                  STE 2506                                    LAKEWOOD OH 44107-0616                         SAN FRANCISCO CA 94120-7427
NEW YORK NY 10004                          NEW YORK NY 10036



000027P001-1399S-010                       000030P002-1399S-010                        000010P001-1399S-010                           000029P001-1399S-010
SANDBOX STUDIO                             SCHWAK USA, INC.                            SECRETARY OF STATE                             SEKO WORLDWIDE, LLC
MANAGING AGENT                             C/O MATTHEWS INTERNATIONAL CORP.            STATE OF CALIFORNIA                            MANAGING AGENT
3850 N 29TH TERRACE                        MANAGING AGENT                              1500 11TH STREET                               PO BOX 71141
STE 107                                    18211 NE 68TH STREET                        SACRAMENTO CA 95814                            CHICAGO IL 60694-1141
HOLLYWOOD FL 33020                         STE E # 120
                                           REDMOND WA 98502-8528
                                  Case 18-14683-leb                Doc 169    Entered 09/12/18 12:53:07                    Page 10 of 10
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000050P001-1399S-010                    000008P001-1399S-010                          000014P002-1399S-010                                 000065P001-1399S-010
SEKO WORLDWIDE, LLC                     SOCIAL SECURITY ADMINISTRATION                SOCIAL SECURITY ADMINISTRATION                       ST JAMES LAW PC
MANAGING AGENT                          OFFICE OF CHIEF COUNSEL, REGION IX            OFFICE OF THE GEN. COUNSEL REG. IV                   MICHAEL ST JAMES, ESQ
1100 ARLINGTON HEIGHTS RD               160 SPEAR STREET                              61 FORSYTH ST SW                                     22 BATTERY ST STE 888
STE 600                                 SUITE 800                                     STE 20T45                                            SAN FRANCISCO CA 94111
ITASCA IL 60143                         SAN FRANCISCO CA 94105-1545                   ATLANTA GA 30303



000012P002-1399S-010                    000066P001-1399S-010                          000070P001-1399S-010                                 000028P002-1399S-010
STATE OF CALIFORNIA                     STERLING BUSINESS CREDIT LLC                  SULLIVAN HILL                                        SUPPORT SERVICES GROUP (TEXAS)
LABOR COMMISSIONER                      LAUREL VARNEY                                 ELIZABETH STEPHENS                                   MANAGING AGENT
1515 CLAY ST                            8401 N CENTRAL EXPRESSWAY                     228 SOUTH 4TH STREET                                 300 S 13TH ST
ROOM 801                                STE 600                                       FIRST FLOOR                                          WACO TX 76701
OAKLAND CA 94612                        DALLAS TX 75225                               LAS VEGAS NV 89101



000007P003-1399S-010                    000001P004-1399S-010                          000037P002-1399S-010                                 000072P001-1399S-010
UNITED STATES ATTORNEY'S OFFICE         UNITED STATES TRUSTEE                         VILAGALLO SA                                         WELTMAN, WEINBERG & REIS CO., L.P.A.
ATTN: CIVIL PROCESS CLERK               EDWARD MCDONALD                               CALLE VELAZQUEZ 44                                   SCOTT D. FINK
333 LAS VEGAS BLVD SOUTH                300 LAS VEGAS BLVD SOUTH                      ENTRADA POR CL HERMOSILLA                            LAKESIDE PLACE, SUITE 200
STE 5000                                #4300                                         MADRID 27001                                         323 W. LAKESIDE AVE.
LAS VEGAS NV 89101                      LAS VEGAS NV 89101                            SPAIN                                                CLEVELAND OH 44113-1099



000042P001-1399S-010
WINWARD INTERNATIONAL
MANAGING AGENT
42760 ALBRAE ST
FREMONT CA 94538




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